     Case 16-17977-mdc          Doc 59    Filed 08/16/18 Entered 08/17/18 09:55:00              Desc Main
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                                 UNITED STATES BANKRUTPCY COURT
                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       CRYSTAL G. BROWN                             Chapter 13




                               Debtor                Bankruptcy No. 16-17977—MDC



                                    Order Dismissing Chapter 13 Case and
                                 Directing Counsel to File Master Mailing List

       AND NOW, this           16th       day of         August            .2013. upon consideration 0!“th Motion
to Dismiss ﬁled by William C. Miller, standing trustee, this case is dismissed and it is Further ORDERED, that
counsel for the debtor, shall ﬁle a master mailing list with the Clerk ofthe Bankruptcy Court, currently updated
(ifsuch has not been previously ﬁled); and it is further

       ORDERED. that any wage orders are hereby vacated.




                                         4Wﬂﬂ¢wﬂ
                                                    Magdeline D. Coleman
                                                    Bankruptcy Judge

William C, Miller, Trustee
PO. Box 1229
Philadelphia, PA 19105

Debtor's Attorney:
JOHN L. MCCLAIN
JOHN L MCCLAIN AND ASSOCIATES
PO BOX 123
NARBERTH, PA 19072—



Debtor:
CRYSTAL G. BROWN

967 W MAIN STREET

COATESVILLE, PA 19320
